Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 1 of 46 PageID #: 25958




                    EXHIBITS 1-2
             REDACTED IN THEIR ENTIRETY
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 2 of 46 PageID #: 25959




                         EXHIBIT 3
Case
 Case1:13-cv-02067-RGA
      1:15-cv-00379-LPS Document
                        Document 240-1
                                 571-1 Filed
                                       Filed 12/08/21
                                             02/23/22 Page
                                                      Page 23 of
                                                              of 813
                                                                 46 PageID
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                                         Report of the Economic Survey 2019
                                                                                         2019
                                                                                         Report of the Economic Survey




                                        American intellectual Property Law Association
                                                                                         Prepared Under Direction of
                                                                                         Law Practice Management Committee




                                                                                                                             American Intellectual Property Law Association
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                                                                                                                             www.aipla.org
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 4 of 46 PageID #: 25961




                     Report of the
                   Economic Survey
                        2019
                 Prepared Under Direction of the
           American Intellectual Property Law Association
              Law Practice Management Committee

                         Frank L. Gerratana, Chair


                              September 2019


                                Prepared by:




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 Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 5 of 46 PageID #: 25962


INTRODUCTION

The AIPLA Economic Survey, developed and directed by the Law Practice Management Committee of the
American Intellectual Property Law Association (AIPLA), reports the annual incomes and related professional
and demographic characteristics of intellectual property (IP) law attorneys and associated patent agents.
Conducted every other year by AIPLA, this survey also examines the economic aspects of intellectual property
law practice, including individual billing rates and typical charges for representative IP law services. All U.S.
AIPLA members, with the exception of student members were invited to participate.

The Law Practice Management Committee took an active role in reviewing the Economic Survey with a goal of
improving the usefulness and value of the data that are collected and analyzed.

DATA COLLECTION

An e-mail invitation to participate in the 2019 AIPLA Economic Survey was sent to a list of 9,439 AIPLA members;
accounting for bounces and requests to be removed from the database, the actual sample surveyed was 8,619.
The e-mail included an individualized direct link to the Web-based questionnaire along with an attached letter
requesting additional participation in the Firm portion of the Economic Survey. The initial e-mail was followed
up by several e-mail reminders. Additionally, AIPLA and committee members sent out promotional emails with
survey links as well. Similar to 2015 and 2017, additional efforts were made to collect the Firm Survey data.
Contact information was collected directly from the Individual Survey respondents that was then used for
distributing Firm Survey links directly to the appropriate people identified at each firm by the Individual Survey
respondents.

A total of 961 individuals responded by completing some or all of the Individual questionnaire, yielding an 11.1%
response rate, nearly the same as the response rate in 2017. This is the seventh time the survey has been
conducted online. Additional efforts to gather data for the Firm portion of the survey garnered 160 responses –
lower than the 205 received in 2017.

All data submitted by respondents were reviewed and evaluated for reasonableness and consistency; data
anomalies and outliers were analyzed and corrected or deleted.

In many cases, respondents did not answer every question, so the total counts for each table may vary.

CHANGES TO THE SURVEY

A number of enhancements were made to the 2019 Individual Survey instrument. The committee worked to
update the survey and included new questions that covered important areas of interest to the profession. In
Part I, the primary practice categories were updated, and questions about remote work and work status were
added. Previously, the survey asked for years of IP law attorney experience and this year non-attorney years of
IP law experience was added. A number of questions were reordered in this section.

In Part II (Corporate Practitioners), a question was added to ask about the IP budget as it related to US
prosecution and non-US prosecution. Part III (Private Practitioners) included new questions about discounted
hourly billing rates. In Part IV (Typical Charges), one new charge was added to the section covering Trademarks
(preparing and filing assignments or other formal documents). Eight new charges were added to the US Utility
Patent section along with a top-level clarifying statement about US Utility Patents that indicates that the
category includes foreign-origin patents where no substantive direction is received from foreign attorneys.
These new items covered preparation and filing of Information Disclosure Statement (IDS), reference
management, Patent Term Adjustment (PTA) calculation, formalities, preparing and filing formal drawings,

                                                       1
 Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 6 of 46 PageID #: 25963


preparation for and conducting examiner interviews and providing a continuation recommendation. The PTA
calculation was stated to be excluded from an above item related to issuing an allowed application. The
previously titled Foreign Origin and Foreign Patents category was renamed to US Utility Patents of Foreign Origin
with the following clarifying statement: in which foreign attorneys provide substantive direction. Exclude
government, foreign associate, drawing and similar fees. An entirely new category for Filing US Applications
Abroad was added, and Other US Patents and Copyrights was expanded to include charges for formal drawings
for design patent application, preparing and filing international design patent application under the Hague
agreement, and responding to Office action in design patent application. Transactional Work that included due
diligence, and preparing licenses, including negotiations was also added.

The litigation cost question for the total cost of filing or defending a petition for a post-grant proceeding was
expanded to collect data by technology.

The 2019 Firm Survey instrument updated the titles for the types of attorneys for various questions, and most
significantly added a section to collect the charges data similar to those collected in the Individual Survey. The
charges data collected from the Firm Survey were combined with the Individual Survey charges data, and for this
reason a new question about the number of full-time IP lawyers and patent agents at all locations was added to
the Firm Survey in order to have corresponding demographic data when combining the two sets of data.

In the data tables in the report, a minimum of three responses was required to show composite values. The
term “ISD” is used in the tables to show insufficient data. Similar to the past few reports, table rows with one
or two respondents have been omitted to protect the anonymity of respondents, and tables with no valid rows
have likewise been omitted. In general, tables with less than 20 respondents overall were not shown in order to
maintain statistical reliability of the data; however, for the new category Private Firm, Non-Partner Track
Attorney, as well as for Patent Agents, a number of exceptions were made and tables were kept in spite of
having fewer than 20 respondents overall. Some detailed tables for Litigation Costs by Location were not
included due to low response counts. Additionally, for applicable tables, the 10th and 90th percentiles could only
be shown if there were 10 or more respondents.

DESCRIPTION OF STATISTICS AND FORMATTING CONVENTIONS

Quartiles: Quartiles are used to show distributions of real numbers. Responses are described by three quartiles:
the first quartile, the median, and the third quartile. Quartiles identify interpolated locations on a distribution of
values and do not necessarily represent actual reported values. Another label for quartiles is percentiles; the
first quartile is the same as the 25th percentile, the median is the 50th percentile, and the third quartile is the 75th
percentile. For example, when all reported values are listed from highest to lowest, the third quartile identifies
the point on the list that is equal to or greater than 75 percent (three-quarters) of the reported values and the
first quartile identifies the point on the list that is equal to or less than 25 percent (one-quarter).

10th Percentile: Also used to show distributions of real numbers, ninety percent of respondents reported this
amount or more.

90th Percentile: Ten percent reported this amount or more. If there are fewer than 10 values, the 90th
percentile cannot be calculated.

Median (midpoint): The median identifies the point in the distribution of reported values that is equal to or
larger than one-half of reported values and equal to or smaller than one-half—that is, the mid-point.
A median is shown when three or more values were reported by respondents. The first and third quartiles are
shown when five or more values were reported by respondents. Quartiles and medians based on values
reported by survey respondents are estimates of the quartiles and medians that could be determined if the


                                                         2
 Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 7 of 46 PageID #: 25964


characteristics of the entire population represented by survey respondents were known. In general, the more
values that are reported, the more accurately quartiles estimate the distribution of values among all AIPLA
members.

Mean (average): The mean is shown when three or more values were reported by respondents. It is equal to the
sum of all values divided by the number of values.

It should be noted that if the mean exceeds the median, it is because high values affect the calculations. It is also
possible, especially with a small number of values, for the mean to exceed the third quartile.

Percentages in some tables and some graphs may not sum to exactly 100% due to rounding.

Other definitions useful in understanding tabular information presented in this report are:

Income: Defined as “total gross income in calendar year 2018 from your primary practice…including any
partnership income, cash bonus, share of profits, and similar income you received, and any deferred
compensation in which you vested in 2018.”

Typical Charges: Respondents were instructed to respond “only if you have been personally responsible for a
representative sample of the type of work to which the question pertains, either as a service provider (i.e., an
attorney in private practice) or as a purchaser of such services (i.e., corporate counsel).” When reporting,
respondents were directed to assume “a typical case with no unusual complications,” and were asked “what did
you charge (or would have charged, e.g., based on a fixed fee rate schedule) or what were you charged (or would
have expected to be charged, e.g., on a fixed fee rate schedule), in 2018, for legal services only (including search
fees, but not including copy costs, drawing fees or government fees) in each of the following types of US
matters?” Respondents were also asked to indicate the type of fee primarily used in 2018 (i.e., fixed fee, hourly,
other). The Firm Survey instructions were similar.

Estimated Litigation Costs: Respondents were instructed to respond to these questions “only if you have
personal knowledge either as a service provider (attorney in private practice) or as a purchaser of such services
(corporate counsel) of the costs incurred within the relatively recent past, for the type of work to which the question
pertains. In each of the questions, ‘total cost’ is all costs, including outside legal and paralegal services, local
counsel, associates, paralegals, travel and living expenses, fees and costs for court reporters, photocopies, courier
services, exhibit preparation, analytical testing, expert witnesses, translators, surveys, jury advisors, and similar
expenses.” Respondents were further instructed to estimate these based on a single IP asset, such as one patent at
issue or one trademark, etc.

Location: The metropolitan areas of Boston, New York City, Philadelphia, Washington (DC-MD-VA), Chicago, and
Minneapolis–St. Paul include all localities—central city and surrounding areas—within the primary metropolitan
statistical area. Texas is the one state reported separately. There were sufficient responses to breakout Los
Angeles and San Francisco separately; California firms outside of those metro areas were included in “Other
West.” Other categories exclude those named metropolitan areas.




                                                         3
       Case 1:15-cv-00379-LPS Document   571-1
                               Private Firm,     Filed 02/23/22
                                             Partner-Track        Page 8 of 46 PageID #: 25965
                                                           Attorney


Average hourly billing rate in 2018 (Q37)
Private Firm, Partner-Track Attorney



                                                                         10th         First                     Third        90th
                                            Number of       Mean       Percentile    Quartile      Median      Quartile    Percentile
                                            Individuals   (Average)      10%          25%         (Midpoint)    75%          90%
 All Individuals                                    99         $387         $250         $285          $350        $438         $600
                     Fewer than 5                   20         $309         $222         $250          $283        $325         $575
 Years of IP Law     5-6                            21         $406         $252         $284          $360        $458         $719
 Attorney            7-9                            22         $364         $260         $298          $338        $435         $509
 Experience          10-14                          16         $444         $280         $320          $426        $499         $755
                     15-24                          18         $405         $280         $308          $388        $456         $621
                     Boston CMSA                      4        $671          ISD         $533          $675        $806          ISD
                     Philadelphia CMSA                3        $381          ISD            ISD        $414          ISD         ISD
                     Washington, DC CMSA            16         $436         $285         $315          $400        $516         $669
                     Other East                       5        $312          ISD         $288          $300        $343          ISD
                     Metro Southeast                  6        $422          ISD         $324          $438        $503          ISD
 Location            Other Southeast                  4        $335          ISD         $233          $336        $438          ISD
                     Chicago CMSA                     5        $378          ISD         $350          $360        $415          ISD
                     Minne.-St. Paul PMSA             9        $297          ISD         $276          $295        $313          ISD
                     Other Central                  24         $314         $245         $251          $284        $345         $428
                     Texas                            4        $448          ISD         $310          $345        $688          ISD
                     Other West                     14         $413         $243         $269          $427        $500         $664
                     Biotechnology                    4        $487          ISD         $381          $418        $661          ISD
                     Chemical                         6        $318          ISD         $254          $318        $379          ISD
 IP Technical        Computer Software              20         $431         $252         $297          $355        $564         $745
 Specialization
 (>=50%)             Electrical                     10         $394         $253         $295          $415        $493         $500
                     Mechanical                     26         $340         $247         $280          $310        $374         $507
                     Pharmaceutical                   3        $572          ISD            ISD        $525          ISD         ISD
                     Younger than 35                29         $341         $250         $265          $300        $350         $591
                     35-39                          29         $389         $250         $280          $310        $468         $735
                     40-44                          12         $419         $226         $346          $418        $488         $675
 Age
                     45-49                          13         $381         $277         $298          $375        $433         $563
                     50-54                            9        $431          ISD         $360          $414        $459          ISD
                     55-59                            5        $416          ISD         $300          $435        $523          ISD
                     Male                           82         $402         $252         $290          $360        $468         $608
 Gender
                     Female                         16         $319         $247         $259          $296        $325         $486
                     Bachelor's Degree              65         $395         $266         $298          $350        $458         $595
 Highest Non-Law
                     Master's Degree                26         $368         $247         $275          $305        $449         $617
 Degree
                     Doctorate Degree                 8        $387          ISD         $246          $368        $437          ISD
 Ethnicity           White/Caucasian                85         $386         $250         $288          $350        $438         $595
                     3-5                              4        $298          ISD         $273          $285        $335          ISD
 Full-time           6-10                             7        $347          ISD         $285          $350        $400          ISD
 Intellectual        11-25                          21         $350         $259         $285          $324        $395         $491
 Property lawyers
                     26-50                          25         $376         $248         $290          $345        $470         $508
 and agents in the
 firm or             51-100                         21         $376         $224         $273          $350        $444         $573
 corporation         101-150                        11         $392         $280         $300          $325        $505         $707
                     More than 150                    9        $611          ISD         $467          $600        $768          ISD




                                                 AIPLA Report of the Economic Survey 2019
                                                                    I-42
                                         Total Costs: Litigation-Patent Infringement, All Varieties by Type of Practice

Litigation-Patent Infringement, All Varieties $10-$25M Inclusive of discovery, motions, and claim construction (000s) by Type of Practice (Q47Aj)

                                            1-3           4-15               16-59          60 or more           All
                            Total        Attorneys     Attorneys           Attorneys         Attorneys        Corporate
 Number of Respondents              72           10                   8               13                31               9
 Mean (Average)              $1,623            $672         $524               $1,171            $2,432           $1,317
 10th Percentile 10%           $315             $98           ISD                $142             $530               ISD
 First Quartile 25%            $500            $388         $175                 $500            $1,500             $625
 Median (Midpoint)           $1,225            $500         $375               $1,000            $2,500           $1,000
 Third Quartile 75%          $2,650          $1,000         $875               $1,525            $3,500           $1,850
 90th Percentile 90%         $3,500          $1,450           ISD              $3,180            $3,500              ISD


Litigation-Patent Infringement, All Varieties $10-$25M Inclusive of pre-trial, trial, post-trial, and appeal (when applicable) (000s) by Type of Practice (Q47Ak)

                                            1-3          4-15               16-59          60 or more           All
                           Total         Attorneys    Attorneys           Attorneys         Attorneys        Corporate
 Number of Respondents              73          10                8              13                31               10
 Mean (Average)              $3,093         $1,733       $1,223              $2,065            $4,403           $2,930
 10th Percentile 10%           $600           $177           ISD               $410            $1,640           $1,370
 First Quartile 25%          $1,250           $713         $500              $1,050            $3,000           $2,000
 Median (Midpoint)           $2,700           $800         $650              $1,500            $4,500           $2,000
 Third Quartile 75%          $6,000         $2,875       $2,075              $3,200            $6,000           $3,750
 90th Percentile 90%         $6,000         $5,800           ISD             $4,800            $6,000           $6,000


Litigation-Patent Infringement, All Varieties $10-$25M Cost of mediation (000s) by Type of Practice (Q47Al)

                                            1-3           4-15               16-59          60 or more           All
                            Total        Attorneys     Attorneys           Attorneys         Attorneys        Corporate
 Number of Respondents              65           11                   7               10                27               9
 Mean (Average)                    $98          $68          $61                  $66             $112              $149
 10th Percentile 10%               $25          $11           ISD                 $22              $29               ISD
 First Quartile 25%                $50          $35          $30                  $48              $50               $23
 Median (Midpoint)                 $80          $70          $50                  $63             $150              $100
 Third Quartile 75%            $150             $90         $100                  $85             $150              $275
 90th Percentile 90%           $150            $160           ISD                $118             $150               ISD
                                                                                                                                                                    Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 9 of 46 PageID #: 25966




                                                                           AIPLA Report of the Economic Survey 2019
                                                                                             I-150
  Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 10 of 46 PageID #: 25967
Minimum and maximum 2018 attorney billing rates for IP work (Q30a-Q30b)

                                                               Number of                   First                     Third
                                                                 Firms          Mean      Quartile      Median      Quartile
 Number of Attorneys/Location                                  Reporting      (Average)    25%         (Midpoint)    75%
                         All Firms                                   128           $292       $225          $278        $350
                                     One                               21          $342       $250          $340        $418
                                     Two                                9          $317       $238          $320        $365
                                     3-5                               14          $345       $300          $333        $374
                         Number of
                                     6-10                              17          $264       $200          $250        $338
                         Attorneys
                                     11-30                             26          $234       $170          $235        $289
                                     31-100                            17          $286       $198          $255        $308
                                     101 or More                       24          $293       $250          $275        $345
                                     Boston CMSA                        4          $229       $156          $258        $273
                                     NYC CMSA                          12          $311       $270          $300        $329
 Minimum billing rate                Philadelphia CMSA                  4          $306       $244          $310        $365
 for IP work                         Washington, DC CMSA               21          $334       $238          $340        $405
                                     Other East                         9          $295       $205          $300        $375
                                     Metro Southeast                    3          $192          ISD        $225          ISD
                                     Other Southeast                    4          $310       $188          $320        $423
                         Location
                                     Chicago CMSA                      13          $348       $238          $285        $345
                                     Minne.-St. Paul PMSA               5          $245       $213          $255        $273
                                     Other Central                     25          $228       $178          $230        $278
                                     Texas                              6          $295       $216          $318        $363
                                     Los Angeles CMSA                   3          $323          ISD        $325          ISD
                                     San Francisco CMSA                 6          $402       $338          $400        $470
                                     Other West                        13          $259       $210          $250        $298
                         All Firms                                   128           $572       $400          $523        $679
                                     One                               21          $418       $288          $385        $498
                                     Two                                9          $373       $325          $350        $415
                                     3-5                               14          $489       $395          $450        $510
                         Number of
                                     6-10                              17          $489       $413          $500        $533
                         Attorneys
                                     11-30                             26          $531       $419          $543        $635
                                     31-100                            17          $641       $570          $650        $775
                                     101 or More                       24          $886       $684          $838      $1,070
                                     Boston CMSA                        4          $754       $281          $700      $1,280
                                     NYC CMSA                          12          $572       $438          $590        $673
 Maximum billing rate                Philadelphia CMSA                  4          $753       $613          $805        $840
 for IP work                         Washington, DC CMSA               21          $599       $400          $500        $695
                                     Other East                         9          $471       $370          $455        $523
                                     Metro Southeast                    3          $645          ISD        $635          ISD
                                     Other Southeast                    4          $391       $364          $378        $433
                         Location
                                     Chicago CMSA                      13          $575       $325          $535        $690
                                     Minne.-St. Paul PMSA               5          $783       $688          $830        $855
                                     Other Central                     25          $499       $408          $490        $600
                                     Texas                              6          $536       $358          $550        $696
                                     Los Angeles CMSA                   3          $617          ISD        $480          ISD
                                     San Francisco CMSA                 6          $701       $471          $573      $1,084
                                     Other West                        13          $530       $438          $500        $633




                                              AIPLA Report of the Economic Survey 2019
                                                                 F-22
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 11 of 46 PageID #: 25968




                          EXHIBIT 4
      Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 12 of 46 PageID #: 25969

                                                 LITIGATION DEPARTMENTS OF THE YEAR




                           SHOCK AND AWE
                     With the resources of the world’s largest firm at their disposal,
                      Kirkland & Ellis litigators operate with power and precision.


                                                     By Andrew Maloney


                  F YO U WA N T T O K N O W       He spoke to lawmakers and editorial                “That’s a tangible, palpable, thunder-

         I         what Kirkland & El-
                   lis litigation is about,
                   look no further than the
                                                  boards, at press conferences and state-
                                                  house rallies. And when the pandemic
                                                  shuttered many of those avenues, he
                                                                                                on-the-mountain-type outcome that’s
                                                                                                going to produce effects for genera-
                                                                                                tions,” Filip says. “So, if you want to
     $577 million settlement that lead coun-      carried on with the task virtually, until     know what Kirkland litigation is about,
     sel Michael Jones and others won in a        lawmakers and the governor approved a         it’s people putting that passion and that
     discrimination case against the state        payout and the court signed off.              kind of talent into whatever setting it
     of Maryland and its higher education             That overwhelming use of force—           takes to try and get something done.”
     system in May. It took 12 years, nearly      all hands on deck, marshaling the im-              The firm says it counted nearly 900
     37,500 pro bono hours, and an all-           mense resources of the world’s highest-       wins between August 2019 and July of
     avenues approach—from the courts to          grossing firm—is emblematic of the            this year, with 44 trial and 111 appel-
     the state capitol to the community—in        Kirkland approach, Jones says.                late victories. Its U.S. Supreme Court
     service of the state’s historically Black        “When we take on a matter, it’s like      practice was also difficult to match,
     colleges and universities.                   the U.S. military: shock and awe. We          with stalwarts Paul Clement and Erin
         The schools had argued the state         find a way to be persistent, and to be cre-   Murphy among others arguing 14 cas-
     was depriving them of resources rela-        ative, to try and get that outcome for our    es before the nation’s top court in that
     tive to other universities and that          clients,” Jones says. “In that way, I think   same timespan. That accounts for more
     the practice was linked to segrega-          it really is characteristic of the firm.”     than 10% of cases heard by the justices
     tion. Along with John C. Brittain of             The firm is no stranger to big cases.     during that stretch, and puts the three-
     the University of the District of Co-        But that one is especially resonant now,      year total at 19 arguments made by six
     lumbia, the Lawyers’ Committee for           as the legal industry and others reckon       different Kirkland lawyers.
     Civil Rights Under Law and others at         with the largest racial justice movement           One thing that distinguishes the
     Kirkland, Jones steered the plaintiffs’      in decades after the murder of George         firm’s litigation team from others, its
     case through multiple district court         Floyd in Minneapolis last year. Mark          lawyers say, is its willingness to push
     trials, federal appeals, years of media-     Filip, a partner at Kirkland who helps        significant cases to even its young-
     tion and advocacy in the community           lead its government enforcement de-           est lawyers. Granted, the firm is well-
     and the state legislature. He coordi-        fense practice, says the settlement also      known for courting very capable young
     nated with the firm’s appellate strate-      showcased another firm principle: ac-         lawyers. But the approach “helps train
     gists and spared no expense for experts.     tions speak louder than words.                the next generation of lawyers at the


46    December 2021    |   americanlawyer.com
                           Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 13 of 46 PageID #: 25970




                                                                                                                             “If we won, what can we
                                                                                                                             do better? If we lost?
                                                                                                                             Same thing.” —Mark Filip


                                                                                                WINNER



                          (L-R) ANDREW            firm while secur-    with extensive experience to junior law-       affiliate, Parthenon Capital Partners,
                          KASSOF, ELLISEN         ing outcomes         yers who are brought in and mentored           for $187 million. A jury found for Kirk-
                          TURNER, SANDRA          that allow them      to quickly contribute to major matters.        land in 2019, ordering the defendants
                          GOLDSTEIN, MIKE
                                                  to build durable,       “Because of the size of the mul-            to pay $82.1 million. But the Delaware
                          JONES, HARIKLIA
                                                  lasting relation-    tidistrict litigation, and the speed           Supreme Court reversed the ruling in
                          KARIS, AND
                          GREGG LOCASCIO
                                                  ships with our       with which it’s moving, it’s a good            February, finding the trial court gave a
                                                  clients,” says An-   indicator, if you will, of the bench           favorable jury instruction for the plain-
                                                  drew Kassof, one     strength of Kirkland & Ellis’ litigation       tiffs, and that certain evidence should
                          of the leaders of the firm’s litigation      department,” she says. “I don’t think          not have been excluded.
                          practice and a member of Kirkland’s ex-      that’s an easy feat—to get ready for               The Kirkland lawyers say it was a
                          ecutive committee.                           a dozen trials, period, with seasoned          hard-fought case, and that it’s always
                              In addition to one of the largest pro    trial lawyers, but who have not been           difficult to take a loss because they live
                          bono settlements in history, the firm        working on the case previously.”               and breathe these cases. But win or lose,
                          also won big in the second trial in the         The firm handled and won a va-              they try to apply lessons going forward
                          largest multidistrict litigation in U.S.     riety of cases for a diverse group of          through meticulous post-mortems.
                          history this year, representing multina-     clients, from the state of Georgia in              “We try really rigorously, after a win
                          tional conglomerate 3M against claims        a long-lasting “water war” with the            or a loss, to roundtable the thing with
                          brought by former U.S. service mem-          state of Florida over the Apalachicola-        colleagues. If we won, what can we do
                          bers that its combat earplugs were de-       Chattahoochee-Flint River Basin, to            better? If we lost? Same thing,” Filip says.
                          fective. There are still more than a doz-    Epic Games in litigation concerning                And although the firm doesn’t wel-
                          en trials pending in the litigation, lead    the protection of dance steps in the           come losses, its litigators recognize
                          Kirkland lawyer Hariklia “Carrie” Karis      popular video game “Fortnite.”                 they’re part and parcel when clients turn
                          says, but early defense wins can serve          The firm doesn’t win every case, of         to you with their most difficult issues.
DIEGO M. RADZINSCHI/ALM




                          as an archetype for cases going for-         course. It represented Bracket Holding             “We try to stay aggressive and
                          ward. In this case, Karis and her team       Corp., which alleged in a fraud case that      hungry, and ruthlessly honest with
                          earned the first win for 3M, defeating       Express Scripts and United BioSource           ourselves,” Filip says. “But we also try
                          all 10 claims brought by the plaintiffs.     misrepresented the financial condi-            not to get paralyzed. Because if you win
                              Karis says the 3M cases display the      tion of their company in connection            every case, you’re probably not trying
                          firm’s roster strength, from litigators      with a 2013 sale to Bracket Holding’s          very tough cases.”


                                                                                                                   Th e Ame r i c an Lawye r   |   De c ember 2021   47
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 14 of 46 PageID #: 25971




                          EXHIBIT 5
 Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 15 of 46 PageID #: 25972



                                              Oct ber 2021




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                  Litigation Department of the Year: nte                                 ectua            ropert




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                                                                                                      P
                                                                                                                   y
                                Kir l nd & Ellis


                                          k
                                                     a
Q&A What are some of the depart-
ment’s most satisfying successes of the
past year and why? One of the most satisfy-
ing aspects of Kirkland’s business is the wide
range of matters our incredible selection of
clients entrusts us to handle. Highlights from
the past year include a complete victory for
Intel in a multi-jurisdiction litigation involv-
ing circuit layout and fabrication technology            From left (front), partners Dale Cendali, Claudia Ray and
patents, where we obtained a final determi-              Leslie Schmidt; (middle), partners Jeanna Wacker, Patricia
                                                         Carson, Robert Appleby and Greg Arovas; (back), James Ma-
nation of no violation in the ITC, as well as            rina, Todd Friedman and Joe Loy.
summary judgment of non-infringement in
the Northern District of California on all five          York jury awarded damages to our client
asserted patents.                                        TriZetto, finding that competitor Syntel had
  We also obtained a major victory for Lucky             misappropriated hundreds of TriZetto’s
Brand in the U.S. Supreme Court in its long-             trade secrets. And in a high-profile, global
running trademark dispute with Marcel. The               trade secret and copyright dispute between
court ruled 9-0 in Lucky Brand’s favor, pro-             our client Motorola Solutions and its China-
viding much-needed clarity on the doctrine               based competitor Hytera, a Northern District
of res judicata.                                         of Illinois jury deliberated for just over two
  In a case for a pharmaceutical client, a Dela-         hours before awarding Motorola Solutions
ware judge ruled after a fully remote bench              our full damages request.
trial that all claims of a patent directed to              In addition, Kirkland resolved long-running
Parkinson’s disease treatments asserted                  patent litigation for WesternGeco, a Schlum-
against our client were invalid.                         berger subsidiary, in litigation against ION
  On the trade secret front, Kirkland teams              Geophysical over remote-sensing technol-
won more than $1 billion in damages for                  ogy for deep-water oil and gas exploration.
clients in 2020. A Southern District of New              This result came after 11 years of litigation,
    Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 16 of 46 PageID #: 25973
                                                                                                                                                                                               October 2021



including two winning U.S. Supreme Court                                                                    the key issues driving the case. That allows
arguments.                                                                                                  us to litigate the case’s real merits, without
                                                                                                            devoting time and the client’s resources to
A prospective client in crisis calls and asks                                                               sideshows. I also appreciate when opposing
why your team should be retained. What                                                                      counsel is honest, reasonable, and can be
is your answer? Kirkland has a deep pool                                                                    taken at their word. Those qualities make it
of extremely talented and committed trial                                                                   much easier to work through the disputes
lawyers, ranging from highly experienced                                                                    that inevitably arise during litigation, and
first-chair attorneys down through our con-                                                                 everyone benefits.
sistently strong associates. We have the abil-
ity on a moment’s notice to put together an                                                                 What is the firm doing to ensure that future
outstanding team with extensive experience                                                                  generations of litigators are ready to take
in all aspects of patent, copyright, trademark,                                                             the helm? Training is a key focus at Kirkland.
trade secret, and other areas of IP law. Trial is                                                           Our annual Kirkland Institute of Trial Advocacy
always first and foremost in our minds when                                                                 does a phenomenal job of preparing associ-
Kirkland takes a case. Developing key theories                                                              ates for real-world trials, allowing them to try
and themes early in a litigation allows us to                                                               mock cases over 2-3 days in front of jurors
flesh out critical supporting evidence during                                                               drawn from the community. Beyond such for-
discovery, ensuring that we can present a com-                                                              mal training, Kirkland also places a great deal
pelling story at trial to maximize our chances                                                              of emphasis on finding early opportunities for
of winning. We also pay close attention to the                                                              its associates to develop experience and skills
client’s business goals when developing our                                                                 in every aspect of litigation. I have seen a trend
strategy, to pursue results that meet or exceed                                                             of judges commenting that they appreciate
their metrics for success.                                                                                  seeing more junior attorneys take stand-up
                                                                                                            roles, which makes it a win-win for us to pro-
What traits do you respect most in opposing                                                                 vide our junior attorneys those opportunities.
firms and lawyers? Competence and integrity.
I always appreciate when opposing counsel                                                                   Responses prepared by Todd M. Friedman,
is able to efficiently identify and focus on                                                                partner at Kirkland & Ellis.




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Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 17 of 46 PageID #: 25974




                          EXHIBIT 6
        Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 18 of 46 PageID #: 25975




These 4 Law Firms Are
The Most ‘Fearsome’
Four law firms were dubbed the most         Michael B. Rynowecer told Law360       Mark Filip, a Kirkland partner and
“fearsome” to face off against in court,    on Wednesday.                          executive committee member, noted
according to a new report by BTI                                                   his firm’s development of lawyers,
                                            The consulting group’s report,
Consulting Group coming out Thursday.                                              promotion of diversity and the space it
                                            the annual BTI Litigation Outlook,
                                                                                   gives people as reasons for its high marks.
In a survey of hundreds of legal leaders,   aggregated responses from over
the four were most consistently named       350 interviews with legal decision     “We are always trial-ready and
as ones that strike “the utmost fear        makers at large organizations          dedicated to being the most
into the hearts of seasoned general         with $1 billion or more in revenue,    prepared lawyers in the courtroom,”
counsel and legal decision makers,”         including chief legal officers,        Filip told Law360. “We bring litigators
according to the report.                    business executives and thought        to the table who are best suited
                                            leaders. In inquiring about the most   for tackling the specific matter,
They are: Jones Day, Kirkland & Ellis
                                            fearsome firms, respondents were       regardless of location or number
LLP, Quinn Emanuel Urquhart &
                                            not prompted and weren’t given         of years of experience. It’s about
Sullivan LLP and Skadden Arps Slate
                                            restrictions as to size.               bringing the best team of diverse
Meagher & Flom LLP.
                                                                                   individuals together to get the best
                                            Jones Day, Kirkland and Quinn
“These are the firms that clients say                                              results for clients.”
                                            Emanuel were also part of the
they don’t want to see on the other
                                            “Fearsome Foursome” last year,         Rynowecer identified four areas
side of the table in a litigation — for
                                            with Skadden returning after most      in which the four firms excelled,
a positive reason,” BTI President
                                            recently being on the list in 2019.    particularly in this past year. For
                                                                                   one, they were “fearless in nature,”
                                                                                   despite the uncertainty created by
                                                                                   the COVID-19 pandemic.

“We are always trial-ready and dedicated to being the                              “They were very comfortable with
                                                                                   the uncertainty,” he said. “They
most prepared lawyers in the courtroom ... We bring
                                                                                   were sometimes quite bold in their
litigators to the table who are best suited for tackling                           recommendations, and they would
the specific matter, regardless of location or number of                           just dive in and sort things out instead
years of experience. It’s about bringing the best team                             of trying to step back and be more
                                                                                   cautious, and that was something
of diverse individuals together to get the best results
                                                                                   very important.”
for clients.”
                                                                                   Second, the firms acted quickly and
                                                                                   with “urgency” when a case fell on
     Mark Filip, Kirkland & Ellis partner
                                                                                   their desks, developing a team and
	
                                                                                   strategy faster than their opponents.



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      Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 19 of 46 PageID #: 25976

                | These 4 Law Firms Are The Most ‘Fearsome’


“As one client put it, they are just                “They don’t want to see it linger.        “Then you’ve got the other issue,
mobilization ready,” Rynowecer said.                They don’t want to wait around to         which is: Not every law firm improved
“If I call them, they get into action,              see if the settlement environment is      their performance with clients as
and clients on the other side say they              going to get any better. They’re just     quickly as others,” he said. “One of
just come at you, and they’re just so               moving ahead,” he said.                   the things that was really interesting
well-prepared.”                                                                               during the whole pandemic era is
                                                    The report named 12 law firms as
                                                                                              how some firms really invested in
The four firms are also known to be                 “Awesome Opponents” behind the top
                                                                                              their client service and client-facing
relentless during litigation and “don’t             four, including Latham & Watkins LLP,
                                                                                              initiatives, and others just cut them off
stop until the client says stop, or they            which appeared in last year’s foursome.
                                                                                              cold. So we’re seeing the firms that
reach their goal.                                   Additionally, 23 firms were on an honor
                                                                                              invested amongst those in the 60.”
                                                    roll of “Intimidating Opponents.”
“And what clients say on the other
                                                                                              The report further illuminated trends
side is that, if my law firm isn’t the              Rynowecer also highlighted that
                                                                                              shaping litigation heading into
same way, then I don’t get the time to              only 60 law firms, or 9%, improved
                                                                                              2022, including an increase in client
strategize as I’ve liked. We’re not as              their market standing with clients
                                                                                              spending that’s rising faster than the
cohesive as we’d like, and that hurts               out of the 650 law firms competing
                                                                                              growth of new cases.
you in a litigation,” he said.                      for business, a slight decrease from
                                                                                              REPRINTED WITH PERMISSION FROM THE
                                                    last year. He said that this “is a sign
Lastly, Rynowecer noted that the                                                              OCTOBER 6, 2021 EDITION OF LAW360
                                                    that the market is getting a little bit   © 2021 PORTFOLIO MEDIA INC.
firms are being particularly aggressive
                                                    harder,” and clients are becoming         ALL RIGHTS RESERVED. FURTHER DUPLICATION
because settlements have become                                                               WITHOUT PERMISSION IS PROHIBITED.
                                                    more demanding and expecting
harder to come by this year.
                                                    more from the law firms they choose.      WWW.LAW360.COM




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Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 20 of 46 PageID #: 25977




                          EXHIBIT 7
2/16/22, Case
         12:14 PM1:15-cv-00379-LPS               Document Gianni
                                                          571-1  Cutri,Filed    02/23/22| Kirkland
                                                                        P.C. | Professionals Page& 21
                                                                                                   Ellis of
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          Gianni Cutri, P.C.
          Partner / Intellectual Property
          gianni.cutri@kirkland.com
          Chicago +1 312 862 3372




          Practices

              Intellectual Property
              Patent Infringement Litigation
              ITC Section 337 Proceedings
              Patent O ce Post-Grant Review Proceedings
                            ffi
              Trade Secrets Litigation
              Cybersecurity & Data Privacy


          Overview
          Gianni Cutri is a partner focusing on high-tech IP and commercial litigation, post-
          grant review proceedings and data protection and privacy matters. Gianni has
          litigated signi cant actions in state and federal courts around the country, including
                                  fi
          major patent cases in the Eastern District of Texas, the District of Delaware, the
          Northern District of Illinois, the Northern District of California, the Western District of
          Wisconsin the District of Colorado, the District of New Jersey and the Federal Circuit.
          Gianni’s practice covers the full range of specialized IP courts as well, from the
          International Trade Commission, where has represented Complainants and
https://www.kirkland.com/lawyers/c/cutri-gianni-pc                                                                               1/6
2/16/22, Case
         12:14 PM1:15-cv-00379-LPS                   Document Gianni
                                                              571-1  Cutri,Filed    02/23/22| Kirkland
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                                                                                                       Ellis of
                                                                                                             LLP46 PageID #: 25979

          Respondents in multiple Section 337 investigations, to the Patent Trial and Appeal
          Board, where he has served as lead counsel in more than 17 post-grant review
          proceedings.

          Gianni has signi cant experience representing industry-leading clients, such as Intel,

                                    fi
          Cisco, Motorola, Yahoo!, Sharp, NETGEAR and Murata in high-stakes litigation
          involving semiconductor, telecommunications, and computer hardware. Gianni has
          also successfully represented some of the world’s leading consumer and retail
          companies, including McDonald’s, Home Depot, FedEx, Delta Airlines, Barnes & Noble,
          Starbucks, UPS, The Buckle and Lucky Brand Jeans, in defensive patent litigation. He
          has represented clients in a diverse array of technologies, including 3-D imaging,
          healthcare billing and IT systems, electronic stability controls, at-screen LCD




                                                                                                   fl
          monitors, radio frequency identi cation (RFID), MP3 encoding and accelerometers
                                                              fi
          and gyroscopes.

          Building on his familiarity with complex technological issues in litigation, Gianni is
          also part of Kirkland’s practice group on data security and privacy matters. He
          regularly advises clients on signi cant security breaches, such as theft of trade
                                                                   fi
          secrets and source code, intrusions by suspected state actors, extrusion of employee
            nancial and tax data. In these matters, Gianni has led the incident response teams
          fi
          responsible for internal investigations, crisis management, public disclosures and
          litigation strategies. The practice group has represented numerous companies that
          have experienced signi cant security breaches. Clients have included retailers,
                                                fi
          health care providers, media companies, transportation companies and business
          service providers.

          Gianni holds a J.D., Order of the Coif, from the University of Illinois College of Law and
          a B.S. in mechanical engineering from the University of Illinois.


          Experience

          Representative Matters

          Representative Patent and IP Litigation

          EagleView Technologies, et al. v. Xactware Solutions, et al. (D.N.J., PTAB)

               Lead counsel representing the leading suppliers of aerial imagery and analytics in
               litigation against competitors. The matter involves 9 patents being asserted in the

https://www.kirkland.com/lawyers/c/cutri-gianni-pc                                                                                   2/6
2/16/22, Case
         12:14 PM1:15-cv-00379-LPS               Document Gianni
                                                          571-1  Cutri,Filed    02/23/22| Kirkland
                                                                        P.C. | Professionals Page& 23
                                                                                                   Ellis of
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              District of New Jersey and simultaneously litigated at the Patent Trial Appeals
              Board.

          Wi-LAN v. Sharp, et al. (D. Del.)

              Lead counsel defending supplier of LCD televisions in multi-patent, multi-party
              litigation proceeding in the District of Delaware.

          TriZetto v. HealthEdge (D. Colo.)

              Lead counsel representing top-tier supplier of healthcare software in trademark
              and unfair competition matter; successfully defeated motion to dismiss and
              obtained voluntary removal of certain of the o ending statements and infringing



                                                                             ff
              trademarks.

          Syntel v. Cognizant and TriZetto (S.D.N.Y)

              Lead counsel in representation of leading supplier of healthcare software and
              leading supplier of software consulting services in trade secret, unfair competition
              and breach of contract matter.

          Innovatio v. Cisco Systems, Motorola Solutions, NETGEAR, et al.

              Defended suppliers of Internet wireless routing products in complex multi-district
              action concerning patents alleged to pertain to 802.11-standardized wireless
              technology. After a seven-day bench trial, determined that the plainti ’s damages
                                                                                                          ff
              claim was limited to a RAND rate of less than 10 cents for each accused Wi-Fi
              product and also found that plainti ’s demands for damages of more than a billion
                                                                ff
              dollars “lacked a credible methodology” and that the plainti ’s case su ered from a
                                                                                              ff
                                                                                                               ff
              failure of proof. The case was hailed as highly favorable to technology companies
              and consumers and received worldwide media attention including in the IPLaw 360
              articles “FRAND Rulings To Rein In Standard-Essential Patent Demands” and
              “Judge Sets Low Royalty Rate For Essential Wi-Fi Patents.”

          Wi-LAN v. Intel, et al. and Wi-LAN v. Motorola, et al.

              Defended world’s leading suppliers of Wi-Fi, WiMAX, Bluetooth and CDMA products
              in litigations brought in the Eastern District of Texas and the Northern District of
              California, involving 20 patents asserted against more than three dozen leading
              laptop, router and chip companies. Obtained summary judgment of no
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2/16/22, Case
         12:14 PM1:15-cv-00379-LPS               Document Gianni
                                                          571-1  Cutri,Filed    02/23/22| Kirkland
                                                                        P.C. | Professionals Page& 24
                                                                                                   Ellis of
                                                                                                         LLP46 PageID #: 25981

              infringement on 16 asserted patents, as well as favorable rulings on claim
              construction for other asserted patents. Matter settled days before trial, shortly
              after plainti ’s e ort to delay its trial date was unsuccessful.


                                ff
                                        ff
          Representative Data Security Matters

              Con dential counseling pertaining to incident response in the retail space
                      fi
              Con dential counseling pertaining to incident response in the B2B software space
                      fi
              Con dential counseling for market-leading client in the healthcare space regarding
                      fi
              HIPAA and data security matters
              Con dential counseling to educational services provider regarding incident
                      fi
              response and data security matters
              Presenter, “Data Privacy and Cybersecurity: A New Legal and Enforcement
              Landscape” – The John Marshall Law School, Chicago, Illinois, April 2016

          Representative Litigation

          IDX Systems Corp. v. Epic Systems, Corp., et al. , 285 F.3d 581, 62 U.S.P.Q.2d 1278 (7th
          Cir. 2002)

              Obtained reversal of trial court’s summary judgment ruling against client on trade
              secret, tortious interference and breach of contract claims.

          Shu e Master v. Awada (D. Nev. 2007)
                ffl
              Obtained summary judgment of infringement on trademark and trade dress claims,
              and dismissal of defendants counterclaims.

          Lisa Whisby-Myers v. Kiekenapp (N.D. Ill. 2008)

              Represented pro bono plainti s in civil action asserting hate crime and civil rights
                                                         ff
              violation. Secured $25,000 settlement.

          Clerk & Government Experience

          Law Clerk, Honorable Christine O'Dell Cook Miller, United States Court of Federal
          Claims, Washington, D.C., 2000–2001


          More
https://www.kirkland.com/lawyers/c/cutri-gianni-pc                                                                               4/6
2/16/22, Case
         12:14 PM1:15-cv-00379-LPS               Document Gianni
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                                                                        P.C. | Professionals Page& 25
                                                                                                   Ellis of
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          Recognition

          Recognized in The Legal 500 United States for Patent Litigation: International Trade
          Commission (2016), Patent Litigation: Full Coverage (2020), and Trade Secrets:
          Litigation and Non-Contentious Matters (2021)

          Named one of Managing Intellectual Property magazine's "IP Stars," 2020

          Recommended in Litigation in IAM Patent 1000, 2015–2018

          Selected as a “Rising Star” Illinois Super Lawyers, 2010

          Pro led in Chicago Lawyer, 2008
                fi
          Credentials

          Admissions & Quali cations
                                         fi
              2000, Illinois


          Courts

              United States Court of Appeals for the Seventh Circuit
              United States Court of Appeals for the Federal Circuit
              United States District Court for the Eastern District of Texas
              United States District Court for the Northern District of Illinois
              United States District Court for the Northern District of Illinois, Trial Bar
              United States District Court for the Central District of Illinois
              United States Patent and Trademark O ce
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              United States Court of Federal Claims


          Languages

              Italian


          Education


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2/16/22, Case
         12:14 PM1:15-cv-00379-LPS               Document Gianni
                                                          571-1  Cutri,Filed    02/23/22| Kirkland
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                                                                                                   Ellis of
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              University of Illinois College of Law, J.D., 2000
              Order of the Coif
              Associate Editor, University of Illinois Law Review
              Articles Editor, University of Illinois Journal of Law, Technology and Policy
              University of Illinois at Urbana-Champaign, B.S., Mechanical Engineering, 1997
              James Scholar


          News & Insights
              21 December 2021 Press Release
              Kirkland Represents McDonald’s on Sale of Dynamic Yield to Mastercard
              22 November 2021 Press Release Kirkland Advises Hellman & Friedman and Bain
              Capital in $17 Billion Acquisition of athenahealth
              10 November 2021 Award Verdicts Hall of Fame 2021
              21 June 2021 Award Top Verdicts & Settlements of the Northeast 2020
              18 May 2021 Press Release Kirkland Advises Francisco Partners and
              HealthcareSource in Pending Sale to Clearlake-Backed symplr




https://www.kirkland.com/lawyers/c/cutri-gianni-pc                                                                               6/6
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 27 of 46 PageID #: 25984




                        EXHIBIT 8
2/16/22, Case
         12:16 PM1:15-cv-00379-LPS              Document  571-1
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                                                                 DeCoro,    02/23/22
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                                                                               | Professionals         28& of
                                                                                               | Kirkland  Ellis46
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          Partner / Intellectual Property
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          New York +1 212 446 4859




          Practices

             Intellectual Property
             Patent Infringement Litigation


          Overview
          Christopher DeCoro, Ph.D. is an intellectual property litigation partner in Kirkland’s
          New York O ce. Christopher concentrates his practice on patent litigation.
                           ffi
          Experience

          Representative Matters

          Berall v. Verathon, Inc., et. al. Representing individual inventor in 11-year patent
          litigation over a life-saving medical device known as a video laryngoscope.

          Red Hat, Inc. v. Invention Investment Ireland, LLC. Represented Red Hat in a declaratory
          judgment action against an Intellectual Ventures-associated patent assertion entity
https://www.kirkland.com/lawyers/d/decoro-christopher                                                                                 1/5
2/16/22, Case
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                                                                         Ph.D.               Page
                                                                               | Professionals         29& of
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          on patents related to cloud computing, and successfully achieved a highly favorable
          settlement for client.

          Red Hat, Inc. & IBM v. Sequoia Technologies, Inc ; Sequoia v. HPE, Hitachi, and Super
          Micro. Represented Red Hat, IBM, and their customers in defensive action against
          patent assertion entity on a patent related to storage management. Achieved
          favorable claim construction that forced patentee to stipulate to non-infringement.

          Volkswagen Diesel Emissions Litigation. Technical lead on all aspects of VW’s response
          to EPA enforcement proceedings related to allegations of emissions-testing defeat
          devices in diesel engines. Had primary responsibility for interviewing engineers and
          reviewing technical documentation (both in English and in German) regarding VW’s
          engine-control software and emissions-control devices, as well as drafting technical
          disclosures to EPA documenting the functionality of the cars at issue.

          Ericsson Inc. v. Samsung Electronics, Co. Ltd. Represented Samsung in standards-
          essential patent litigation brought by Ericsson related to 5G wireless communications
          standards.

          RetailMeNot, Inc. v. Honey Science LLC. Represented RetailMeNot in a multi-patent
          litigation in the District of Delaware concerning e-commerce transaction
          technologies. Also represented RetailMeNot in parallel proceedings before the Patent
          Trial and Appeal Board.

          PayPal, Inc. v. RetailMeNot, Inc . Represented RetailMeNot in a multi-patent litigation in
          the Western District of Texas concerning e-commerce transaction technologies.

          Hytera Corp. v. Motorola Solutions Inc. Represented Motorola in defensive patent
          litigation in N.D. Ohio brought by competitor, alleging Motorola’s two-way radios
          infringe audio-processing patent. Achieved summary judgment of non-infringement.

          Samsung v. NVIDIA. Represented Samsung before the International Trade Commission
          (ITC) in a trial alleging infringement of patented manufacturing technology for small-
          sized devices. Responsible for two patents from complaint through trial. After a two-
          week trial, the Court ruled in favor of client and recommended an exclusion order
          barring importation of infringing products. Also represented before the US Patent and
          Trademark Office in connection with inter partes review of the patents asserted in the
          ITC.



https://www.kirkland.com/lawyers/d/decoro-christopher                                                                                 2/5
2/16/22, Case
         12:16 PM1:15-cv-00379-LPS              Document  571-1
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                                                                               | Professionals         30& of
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          Sycamore Technologies LLC v. AT&T Corp. Represented AT&T in defensive patent
          litigation in E.D. Texas regarding encodings for optical communications. Primarily
          responsible for technical analysis, non-infringement, and invalidity. Achieved
          summary judgment of non-infringement for an allegedly standards-essential patent
          after a favorable claim construction, which was affirmed on appeal.

          IPCS v. AT&T Corp. Represented telecommunications provider in defensive patent
          litigation in D. Delaware regarding Voice-over-IP technologies. Primarily responsible
          for technical analysis, non-infringement, and validity.

          Provides pre-litigation and patent prosecution advice and analysis for prominent
          computer-technology companies considering patent infringement actions against
          competitors.

          Represented veteran pro bono before Dept. of Veterans Affairs, achieving
          compensation for injuries suffered during active duty, thus reversing 37-year-old
          wrongful denial of compensation.

          Clerk & Government Experience

          Law Clerk, Honorable Barry T. Albin, Associate Justice, Supreme Court of New Jersey,
          2013–2014

          Law Intern, The United States Attorney’s Office for the District of Connecticut, 2010

          Prior Experience

          Associate, Wilmer Cutler Pickering Hale and Dorr LLP (New York), 2012–2013


          More
          Thought Leadership

          Peer-Reviewed Publications

          Christopher DeCoro et al., Density-based Outlier Rejection in Monte Carlo Rendering, 29
          Computer Graphics Forum 2119 (2010).

          Natalya Tatarchuk, Jeremy Shopf, and Christopher DeCoro, Advanced Interactive
          Medical Visualization on the GPU, 68 J. Parallel & Distributed Computing 1319 (2008).
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                                                                               | Professionals         31& of
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          Christopher DeCoro and Szymon Rusinkiewicz, Subtractive Shadows: A Flexible
          Framework for Shadow Level of Detail, 13 J. Graphics, GPU & Game Tools 45 (2008).

          Christopher DeCoro et al., Bayesian Aggregation for Hierarchical Genre Classification, 8
          Int'l Symposium on Music Information Retrieval 77 (2007).

          Christopher DeCoro et al., Stylized Shadows, 5 Int'l Symposium on Non-Photorealistic
          Animation and Rendering 77 (2007).

          Christopher DeCoro and Natalya Tatarchuk, Real-time Mesh Simplification Using the
          GPU, 21 Symposium on Interactive 3D Graphics & Games 161 (2007).

          Jason Lawrence, Aner Ben-Artzi, Christopher DeCoro, Wojciech Matusik, Hanspeter
          Pfister, Ravi Ramamoorthi, and Szymon Rusinkiewicz, Inverse Shade Trees for Non-
          parametric Material Representation and Editing, 25 ACM Trans. Graphics 735 (2006).

          Zafer Barutçuoglu and Christopher DeCoro, Hierarchical Shape Classification Using
          Bayesian Aggregation, 8 Int'l Conference on Shape Modeling and Applications 44
          (2006).

          Christopher DeCoro and Szymon Rusinkiewicz, Pose-independent Simplification of
          Articulated Meshes, 19 Symposium on Interactive 3D Graphics & Games 17 (2005).

          Rentao Pajarola and Christopher DeCoro, Efficient Implementation of Real-time View-
          dependent Multiresolution Meshing, 10 IEEE Trans. Graphics 353 (2004).

          Christopher DeCoro and Renato Pajarola, XFastMesh: Fast view-dependent meshing
          from external memory, IEEE Visualization 363 (2002).

          David Wangerin, Christopher DeCoro, Luis Campos, Hugo Coyote, and Isaac Scherson,
          A Modular Client-Server Discrete Event Simulator for Networked Computers , 35
          Simulation Symposium 125 (2002).

          Homi Bodhanwala, Luis Campos, Calvin Chai, Christopher DeCoro, Kevin Fowler, Per
          Franck, Huy Nguyen, Nilesh Patel, Isaac Scherson, and Fredricio Silva, A General
          Purpose Discrete Event Simulator, Symposium on Performance Evaluation of
          Computer and Telecommunication Systems (2001).

          Other Publications

https://www.kirkland.com/lawyers/d/decoro-christopher                                                                                 4/5
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          Natalya Tatarchuk, Jeremy Shopf, and Christopher DeCoro, Scalar to Polygonal
          Extracting Isosurfaces Using Geometry Shaders, in ShaderX7 (Wolfgang Engel ed.,
          2009).

          Christopher DeCoro et al., Implementing Real-time Mesh Simpli cation Using the GPU,




                                                                                                 fi
          in ShaderX6 (Wolfgang Engel ed., 2009).

          Credentials

          Admissions & Quali cations
                                       fi
             2013, New York
             2012, New Jersey


          Languages

             German


          Education

             Yale Law School, J.D., 2012
             Lead Submissions Editor, Yale Journal of Law and Technology
             Princeton University, Ph.D., Computer Science, 2009
             Teaching and Research Assistant
             University of California, Irvine, B.S., Computer Science, summa cum laude, 2002


          News & Insights
             03 October 2017 Press Release Kirkland Announces New Partners




https://www.kirkland.com/lawyers/d/decoro-christopher                                                                                 5/5
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 33 of 46 PageID #: 25990




                          EXHIBIT 9
 2/16/22, Case
          12:16 PM1:15-cv-00379-LPS            Document 571-1
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                                                                   | Denver02/23/22         Page
                                                                            Partner Intellectual    34 of
                                                                                                 Property    46 PageID #: 25991
                                                                                                          Attorney




James W. Beard Partner
He / Him / His
DENVER                                             LOS ANGELES                                         CONTACT MY ASSISTANT
1801 California Street, Suite 3300                 8383 Wilshire Blvd., Suite 935                      Shannon Maney
Denver, CO 80202                                   Beverly Hills, CA 90211                             smaney@merchantgould.com
jbeard@merchantgould.com                           D: 612.332.5300                                     D: 303.357.1246
D: 303.357.1189


James W. Beard is an IP attorney in Merchant & Gould’s Denver o ce. While his practice involves all facets
                                                                       ffi
of intellectual property law, James focuses on patent, trade secret, and trade dress litigation for clients
from a diverse range of industries.

IP LITIGATION ATTORNEY WITH OVER 10 YEARS OF EXPERIENCE

James brings over ten years of litigation experience on complex matters to the table. His experience
includes representing high-technology household names and Fortune 500 companies in a wide range of
industries such as:

      Computer hardware and software
      Electronics
      Consumer products and technology
      Biotechnology
      Medical devices


James works in all stages of litigation, from general advice and counseling to complex discovery, trials, and
appeals. His experience also includes motion practice, claim construction, and post-trial motion practice
and appeal. In the past, he’s represented clients in district courts around the country, the International
Trade Commission and the Federal Circuit Court of Appeals.

DEDICATED TO CREATING INNOVATIVE STRATEGIES FOR IP CASES

Intellectual property cases are complex and require a great depth of strategy to address each client’s
overarching business goals. James prides himself on being able to nd novel and innovative arguments
                                                                             fi
based on complex fact patterns and aligning his clients’ business interests with their litigation needs.

Litigation Requires Curiosity

Litigation requires curiosity; attorneys must enjoy seeking new challenges, arguments, and ideas to best
serve their clients. As an inquisitive litigator, James is passionate about new technology as well as
discovering how innovative techniques and methods can bene t his clients.
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                                                                                     | Denver02/23/22         Page
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                                                                                                                   Property    46 PageID #: 25992
                                                                                                                            Attorney


James received his J.D. from the University of California, Hastings College of Law. He has been selected
for inclusion in Super Lawyers Rising Stars Edition lists each year from 2013 to 2019. He has also authored
multiple publications, including:

     Chapter Editor, Annual Review of Intellectual Property Law Developments, American Bar Association, Intellectual Property Section (2011).
     Karen Boyd and James Beard, Patent Marking: True AND False in 11th Annual Silicon Valley Advanced Patent Law Institute, Advanced Patent Law Institute
     (2010).
     James Beard, Note: A Better Carrot: Incentivizing Patent Reexamination, 1 Hastings Sci. & Tech. L.J. 169 (2009).
     James Beard and Albert Halluin, An Analysis of CIGS Solar Cell Technology, 6 Nano. L. & Bus. 19 (2009).
     James Beard, The Limits of Licensing: Quanta v. LGE and the New Doctrine of Simultaneous Exhaustion, 2008 UCLA J. L. Tech. 3 (2008)
     James Beard, Weeds in the Docket: Patent Continuation Reform and Its Effects on the Biotechnology Industry, 90 J. Pat. & Trademark Off. Soc’y 423
     (2008).


In his spare time, James enjoys downhill skiing, road cycling, home brewing, and Texas-style barbecue.

REPRESENTATIVE CASES



Represented plaintiff and counter-defendant as lead counsel in multi-forum patent and trade dress dispute.
 Secured dismissals with prejudice of patent claims, six denials of institution of petitions for inter partes
review, and an amicable settlement agreement was reached dismissing all claims between the parties.

Before joining, James was involved in representations including:

Represented an HVAC manufacturer in multi-patent dispute, that resulted in a nal verdict of non-

                                                                                                               fi
infringement in favor of the client and additional verdicts of invalidity for numerous asserted claims.

Represented a consumer products manufacturer in a multi-forum dispute spanning district court, the
International Trade Commission, and the Court of International Trade, which resulted in an amicable
resolution.

Represented a consumer products manufacturer in a patent dispute relating to the use of QR codes.
 Secured a stipulation of dismissal with prejudice following ling of a motion to dismiss and exchange of
                                                                                   fi
invalidity positions.




EDUCATION
University of California, Hastings College of the Law,
  J.D., 2009, Executive Editor, Hastings Communications & Entertainment Law Journal

University of California, Berkeley,
  B.S., Political Science, Religious Studies, 2006, Highest Honors in Religious Studies; Distinction in
General Scholarship

ADMISSIONS
Colorado State Bar
California State Bar
Washington State Bar

PUBLICATIONS & SPEAKING
Publications

INSIGHT: How Covid-19 Changed the Future of Litigation, Co-Authored with Heather Kliebenstein,
Bloomberg Law (May 7, 2020)

Best Practices For Managing Litigation During Pandemic, Co-Authored with Heather Kliebenstein, Law360
(April 23, 2020).
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         12:16 PM1:15-cv-00379-LPS   Document 571-1
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                                                         | Denver02/23/22         Page
                                                                  Partner Intellectual    36 of
                                                                                       Property    46 PageID #: 25993
                                                                                                Attorney
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 37 of 46 PageID #: 25994




                          EXHIBIT 10
2/16/22, Case
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                                                    The GLS02/23/22     Page 38 of 46 PageID #: 25995
                                                            Team - GLS Capital




                                                                                         MENU




   The GLS Team
   Management Background & Experience
     Joel Merkin                                                                                 ×
     Joel Merkin serves as a Principal at GLS and is responsible for due diligence and
     monitoring of patent investments.

     Prior to joining GLS, Joel was a partner in the intellectual property litigation group at
     Kirkland & Ellis LLP in Chicago, where he practiced for over a decade. At Kirkland & Ellis,
     Joel’s practice focused on complex patent litigation before federal district courts, the
     Patent Trial and Appeal Board (PTAB), the International Trade Commission (ITC), and
     the Federal Circuit.

     Joel is a registered patent attorney and uses his patent litigation experience and
     engineering background to evaluate patent opportunities, particularly in the high-
     tech space. Joel’s patent experience includes working with a wide range of
     technologies, including computer hardware and software, communication systems,
     consumer electronics, and medical devices. He has significant experience in all
     phases of patent litigation, including practicing in many of the nation’s most popular
     patent venues, and arguing and obtaining a complete appellate victory before the
     Federal Circuit. Joel also represented both patent owners and petitioners in over 75
     PTAB proceedings, including arguing over a dozen cases before the PTAB.

     Joel holds a J.D. and B.S. in Computer Engineering from the University of Illinois.



   Meet the Team
   For years, the GLS Capital team has been a united front in designing litigation finance
   solutions for businesses and law firms. Our principals rely on years of experience as
   underwriters at the world’s largest litigation finance providers and as litigators at elite
   law firms.




https://www.glscap.com/our-team/                                                                        1/8
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 39 of 46 PageID #: 25996




                        EXHIBIT 11
2/16/22, Case
         12:16 PM1:15-cv-00379-LPS               Document 571-1     Filed
                                                           Greg Polins       02/23/22
                                                                       | Professionals        Page
                                                                                       | Kirkland      40LLPof 46 PageID #: 25997
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          Greg Polins
          Partner / Intellectual Property
          greg.polins@kirkland.com
          Chicago +1 312 862 3511




          Practices

              Intellectual Property
              Patent Infringement Litigation
              Advertising, Marketing & Promotions
              Patent O ce Post-Grant Review Proceedings
                           ffi
              Trade Secrets Litigation
              Trademark Litigation & Counseling
              Open Source Software
              Cybersecurity & Data Privacy


          Overview
          Greg Polins has litigated cases at both the trial and appellate stage in federal and
          state courts throughout the country, including patent infringement, trade secret,
          trademark infringement, false advertising, and product liability litigation. In addition
          to substantial trial experience, Greg has experience with other avenues of dispute
          resolution, including inter partes review and arbitration proceedings. Greg’s cases
          have involved a wide range of technologies such as media streaming, electronic asset
https://www.kirkland.com/lawyers/p/polins-greg                                                                                      1/3
2/16/22, Case
         12:16 PM1:15-cv-00379-LPS               Document 571-1     Filed
                                                           Greg Polins       02/23/22
                                                                       | Professionals        Page
                                                                                       | Kirkland      41LLPof 46 PageID #: 25998
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          protection, wireless technologies and protocols, semiconductor manufacturing,
          mechanical design, automotive technology, medical devices, and medical implants.
          Prior to becoming an attorney, Greg worked as a computer programmer in the
           nancial and sports media entertainment sectors.
          fi
          Experience

          Representative Matters

          Patent Litigation

               Adobe v. Wowza (N.D. Cal.): Patent litigation relating to digital asset protection and
               media streaming technologies. Achieved summary judgment of non-infringement
               of two of four asserted patents. Case resolved shortly after summary judgment
               order.
               ZiiLabs v. Samsung, et. al. (E.D. Tex.): Patent litigation relating to memory
               management, GPU hardware, and 3D graphics processing. Achieved dismissal of
               six patents based on favorable claim constructions and institution of inter partes
               review petitions.
               Personalized Media Communications Litigation (E.D. Tex.): Patent litigation relating to
               digital asset protection and media streaming technologies. All asserted claims
               cancelled or dismissed based on favorable claim construction or petitions for inter
               partes review.
               Intellectual Ventures v. Citibank (S.D.N.Y.): Patent litigation relating to online banking
               and security technology. Achieved dismissal of asserted patent after ling and
                                                                                                            fi
               winning multiple petitions for inter partes review of asserted claims.
               Broadcom v. Sony (C.D. Cal.): Patent litigation related to semiconductor
               manufacturing and wireless technologies. Case resolved shortly after favorable
               Markman ruling.
               Microspherix v. Merck (D.N.J.): Patent litigation relating to contraceptive implants.
               Wright Medical v. Paragon 28 (D. Colo.): Patent, false advertising, and trade secret
               litigation relating to surgical plates and devices.

          Non-Patent IP Litigation

               Dyson v. SharkNinja (N.D. Ill.): False advertising litigation relating to carpet cleaning
               claims. Achieved $16M+ jury verdict on behalf of client.

          Product Liability Litigation
https://www.kirkland.com/lawyers/p/polins-greg                                                                                      2/3
2/16/22, Case
         12:16 PM1:15-cv-00379-LPS               Document 571-1     Filed
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                                                                       | Professionals        Page
                                                                                       | Kirkland      42LLPof 46 PageID #: 25999
                                                                                                  & Ellis

              In re General Motors LLC Ignition Switch Litigation: Multidistrict federal and state
              civil litigation relating to voluntary recall of vehicles in 2014.

          Prior Experience

          Before attending law school, Greg created software for the equities trading desk at
          Lehman Brothers. Greg also developed web software at ESPN.

          Pro Bono

          Prior to joining Kirkland & Ellis, LLP, Greg worked as a PILI Fellow at the Chicago-Kent
          School of Law, representing indigent criminal defendants. During law school, Greg
          also worked on behalf of the Michigan Innocence Clinic representing innocent
          defendants in criminal appeals and re-trials.



          More

          Credentials

          Admissions & Quali cations
                                        fi
              2012, Illinois


          Education

              University of Michigan Law School, J.D., magna cum laude, 2012
              Rensselaer Polytechnic Institute, B.S., Computer Science, magna cum laude, 2005


          News & Insights
              25 January 2021 Award
              Client Service All-Stars 2020
              04 October 2018 In the News Disputes Promotions Dominate Kirkland’s Class of
              2018
              01 October 2018 Press Release Kirkland Announces New Partners


https://www.kirkland.com/lawyers/p/polins-greg                                                                                      3/3
Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 43 of 46 PageID #: 26000




                        EXHIBIT 12
2/16/22, Case
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        Rajat Khanna
        Associate
        Chicago Of ce
                      fi
        Direct Tel: -+1 312 705 7491
        rajatkhanna@quinnemanuel.com


        Biography

        Rajat Khanna is an associate in Quinn Emanuel’s Chicago of ce, and his practice focuses on high-




                                                                                fi
        stakes patent litigation. He has represented a variety of technology companies in federal court, at the
        ITC, and in AIA proceedings before the USPTO. Rajat’s cases have involved a wide range of
        technologies, including digital rights management (DRM), data encryption, communications and
        network systems, databases, and mobile computing. Rajat is also actively involved in pro bono service
        and has helped clients in matters involving disability bene ts, domestic violence, and family law.
                                                                          fi
        Before attending law school, Rajat worked as an engineer for over ve years at Motorola, Inc. where
                                                                                     fi
        he helped develop hardware, software, and manufacturing strategy for radio infrastructure systems.




        Education
        Indiana University Maurer School of Law
        (J.D., cum laude, 2014)
           Indiana Journal of Global Legal Studies:
              Managing Editor

        University of Texas at Austin
        (B.S., Electrical Engineering, 2004)



        Admissions
             The State Bar of Illinois



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2/16/22, Case
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        Languages
             Hindi
             Punjabi


        Publications and Lectures
        Terminating AIA Post-Grant Proceedings, THE PATENT LAWYER 33-35, (May 2016)

        Procedural Grounds for Raising a Section 101 “Alice” Motion, 26 AMERICAN BAR ASSOCIATION’S
        INTELLECTUAL PROP. LITIG. NEWSLETTER 4 at 2–9, (Summer 2015)

        Reissue Proceedings: Another Twist in the Tale of AIA Post-Grant Review, Intellectual Prop. Magazine
        36–37, (Mar. 2015)




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Case 1:15-cv-00379-LPS Document 571-1 Filed 02/23/22 Page 46 of 46 PageID #: 26003




                   EXHIBITS 13-15
             REDACTED IN THEIR ENTIRETY
